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                                                                            FILED
                       UNITED STATES COURT OF APPEALS                        JUL 20 2020

                                                                         MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                       No.    19-50300

                Plaintiff-Appellee,              D.C. No.
                                                 2:17-cr-00697-SJO-1
 v.                                              Central District of California,
                                                 Los Angeles
 DANIEL FLINT,

                Defendant-Appellant.             ORDER


Before: Peter L. Shaw, Appellate Commissioner.

       Appellant Daniel Flint’s unopposed motion to file under seal Volume 4 of

the excerpts of record (Docket Entry No. 18) is granted. The Clerk shall publicly

file the motion to file under seal, the opening brief, and Volumes 1 through 3 of the

excerpts of record, and shall file under seal Volume 4 of the excerpts of record.

       The existing briefing schedule remains in effect.




MH/Appellate Commissioner
